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 4   Telephone: (559)497-4000
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                )   CASE NO. 1:11-CR-00413 AWI-DLB
                                              )
12                         Plaintiff,         )   STIPULATION AND
                                              )   ORDER FOR SCHEDULING OF CHANGE
13   v.                                       )   OF PLEA HEARING
                                              )
14   GAMALIEL VILLEGAS,                       )
                                              )
15                         Defendant.         )
                                              )
16                                            )
17          IT IS HEREBY STIPULATED by and between Benjamin B. Wagner,
18   United States Attorney and Kimberly A. Sanchez, Assistant U.S.
19   Attorney and Steven Crawford, attorney for Gamaliel Villegas, that a
20   status conference currently set for September 24, 2012 before the
21   Honorable Dennis L. Beck, U.S. Magistrate Judge, at 1:00 p.m. be
22   vacated.    The parties further request that the case be set for a ///
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          Case 1:11-cr-00413-AWI-BAM Document 51 Filed 09/21/12 Page 2 of 2


 1   change of plea before the Honorable Anthony W. Ishii, Chief U.S.
 2   District Court Judge, on Monday, October 9, 2012 at 10:00 a.m.
 3
     Dated: September 21, 2012                Respectfully submitted,
 4
                                              BENJAMIN B. WAGNER
 5                                            United States Attorney
 6
                                         By    /s/ Kimberly A. Sanchez
 7                                            KIMBERLY A. SANCHEZ
                                              Assistant U.S. Attorney
 8
     Dated: September 21, 2012                /s/ Mark Coleman
 9                                            MARK COLEMAN
                                              Attorney for Mustafa Mitchell
10
11
             IT IS SO ORDERED.
12
           Dated:   September 21, 2012                 /s/ Dennis L. Beck
13   3b142a                                   UNITED STATES MAGISTRATE JUDGE
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